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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   7     JIMMY EARL WILSON,                                   Case No. 21-cv-03422-RMI
                                                         Plaintiff,
                                   8
                                                                                              ORDER OF TRANSFER
                                                  v.
                                   9
                                                                                              Re: Dkt. Nos. 1, 3, 5
                                  10     RAQUEL BUCKEL, et al.,
                                                         Defendants.
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                                  12
Northern District of California
 United States District Court




                                  13           This is a civil rights case brought pro se by a state prisoner. Plaintiff presents allegations

                                  14   pertaining to events that occurred at the R.J. Donovan Correctional Facility. That prison is located

                                  15   in the Southern District of California and Plaintiff is still incarcerated in that district. Venue,

                                  16   therefore, properly lies in that district and not in this one. See 28 U.S.C. § 1391(b). Accordingly,

                                  17   all pending motions are VACATED and this case is TRANSFERRED to the United States

                                  18   District Court for the Southern District of California. See 28 U.S.C. § 1406(a).

                                  19           IT IS SO ORDERED.

                                  20   Dated: May 25, 2021

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                                                                                                       ROBERT M. ILLMAN
                                  23                                                                   United States Magistrate Judge
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